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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
     USA

                                                                           No. 503-cr-243-26
                                                                           (NAM/GJD)
       vs.
     Christian Williams




                                            ORDER TO STRIKE
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            IT IS HEREBY ORDERED, that the “Motion to Amend and Supplement,” Dkt. No. 847,
    in the above-entitled action shall be stricken from the docket for the following reason listed
    below. Because Petitioner/Defendant’s submission is being stricken from the docket, it will not be
    considered by the Court.

             1.     Petitioner/Defendant’s submission is rejected because he/she failed to indicate that
                    he/she served his/her submission on opposing counsel. See L.R. 5.1(a) (“[a]ll
                    pleadings and other papers shall be served and filed in accordance with the Federal
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                    Rules of Civil Procedure and shall be in the form prescribed by L.R. 10.1. The
                    party or its designee shall declare, by affidavit or certification, that it has provided
                    all other parties in the action with all documents it has filed with the Court.”). The
                    Clerk’s Office shall not forward copies of Petitioners/Defendant’s submission(s) to
                    opposing counsel. All future submissions to the Court must contain such an
                    affidavit or certification; failure to do so shall result in rejection of the submission
                    without processing.

             2.     All documents shall be filed in accordance with Local Rule.10.1 Form of Papers.
                    See 10.1 (c)(2):
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                    N.Y.N.D Local Rule 10.1(c)(2)
                    The Court may reject documents that do not comply with the above-listed
    requirements.

                 (c) Information required. The following information must appear on
    each document that a party files.

                           1. A caption, which must include the title of the Court, the title of the action,
                           the civil action number of the case, the initials of the assigned judge(s),
                           and the name or nature of the paper in sufficient detail for identification.
                           The parties must separately caption affidavits and declarations and
                           must not physically attach them to the Notice of Motion or
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                 Memorandum of Law.

                 2. Each document must identify the person filing the document. This
                 identification must include an original signature of the attorney or pro se
                 litigant; the typewritten name of that person; the address of a pro se litigant;
                 and the bar roll number, office address, telephone number, e-mail address
                 and fax number of the attorney. All attorneys of record and pro se litigants
                 must immediately notify the Court of any change of address. Parties must
                 file the notice of change of address with the Clerk and serve the same on all
                 other parties to the action. The notice must identify each and every action to
                 which the notice shall applies.


    IT IS SO ORDERED,
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    Date: July 22, 2009
          Syracuse, NY
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